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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-978V
                                   Filed: November 19, 2015
                                          Unpublished

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ELISABETH MENDES,                       *
                                        *
                   Petitioner,          *     Ruling on Entitlement; Concession;
                                        *     Influenza Vaccination;
                                        *     Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH                     *     Administration (“SIRVA”);
AND HUMAN SERVICES,                     *     Special Processing Unit (“SPU”)
                                        *
                   Respondent.          *
                                        *
****************************
Ronald Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for petitioner.
Lisa Watts, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On September 4, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that she suffered a shoulder injury
related to vaccine administration (“SIRVA”) resulting from the influenza vaccination she
received on October 26, 2012. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

       On November 18, 2015, respondent filed her Rule 4(c) report in which she
concedes that petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, respondent “opines that petitioner experienced a vaccine



1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended
at 44 U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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site reaction to the intradermal flu vaccine administered on October 26, 2012.”3 Id. at 3.
Respondent agrees that “based on the record as it now stands, petitioner has satisfied
all legal prerequisites for entitlement.” Id.

       In view of respondent’s concession and the evidence before me, I find that
petitioner is entitled to compensation.

IT IS SO ORDERED.

                                         s/Nora Beth Dorsey
                                         Nora Beth Dorsey
                                         Chief Special Master




3 Because the description of the injury conceded by respondent did not match exactly the injury alleged
by petitioner, the OSM staff attorney contacted the parties by email communication to discuss the effect a
ruling based on respondent’s description of petitioner’s injury would have on the issue of damages and to
determine if either party objected to such a ruling. The parties had no objection and did not believe the
issue of damages would be affected.
                                                      2
